Case 3:07-cv-01177-RG.] Document 4 Filed 05/06/08 Page 1 of 1 Page|D #: 7
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R(§BERT H_ SHEMWELL C|_ERK WESTERN DISTRICT OF LOUISIANA

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MONROE DIVISION

CHARLOTTE A. MCLARRIN : DOCKET NO. 07-117’7
VS. : JUDGE JAl\/IES

MICHAEL .I. ASTRUE, : MAGISTRATE .]UDGE HAYES
COMMISSIONER, SOCIAL
SECURITY ADM]NISTRATION

JUDGMENT

The Report and Recommendation of the Magistrate Judge having been considered, no
objections thereto having been filed, and finding that same is supported by the law and the record
in this matter,

IT IS ORDERED that plaintiff’s suit be, and it is hereby DISMISSED, WITHOUT
PREJ`UDICE. LR 41.3W, Fed.R.Civ.P. 4(rn).

THUS DONE AND SIGNED this 69 day of ma""L . 2008, in

@Me/Q@W

RoBERT G. JAMESL/
UNIT.ED sTATES DISTRICT IUDGE

Monroe, Louisiana.

